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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 SCI SPARK LLC,                                          )
                                                         )
                                 Plaintiff,              )
                                                         ) Case No. 2:25-cv-00506-WSH
                                 v.                      )
                                                         ) Hon. Judge W. Scott Hardy
 Abucaky et al,                                          )
                                 Defendants.             )

          Defendants’ Unopposed Motion for Extension of Time to File Document

NOW COME certain defendants1 (“Defendant”), by and through its undersigned counsel, and

respectfully requests this Honorable Court to extend the time to file its opposition to Plaintiff’s

motion to enforce settlement agreement, stating as follows:

1. Defendants were ostensibly served with process on April 28, 2025. [Dkt. 26].

2. Defendants have been substantively engaged with Plaintiff in settlement negotiations including

    the review of Plaintiff’s evidence, defenses, and offers. Defendants require a short additional

    time to explore settlement or exhaust the prospect thereof and file a response to the Complaint.

    Defendants submit that Plaintiff will not be materially prejudiced by a short extension as a short

    time has passed since the original response deadline and non-appearing defendants may be

    separately defaulted.

3. This Court may, for good cause, extend the time by which a defendant’s responses are due after

    the time has expired if a defendant failed to act because of excusable neglect. Fed. R. Civ. P.

    6(b)(1)(B). “Good cause” is a relatively lenient standard. See, Davis v. Ace Hardware Corp.,

    2014 WL 2990329, at *3 (D. Del. July 2, 2014); 1 Moore’s Federal Practice § 6.06 [2] p. 632


1 DOE 4: AmoyStreet, DOE 5: AMXYFBK(7-15 days delivery), DOE 16: Caikeny, DOE 38: Fstudio, DOE

60: JSTEL, DOE 86: NaRHbrg Fashion, DOE 94: Rainnielove, DOE 101: SheKin, DOE 104: Skycess,
DOE 132: Yasala, DOE 137: yoyoto, DOE 258: EQWLJWE, DOE 260: fartey, DOE 261: FAVIPT, DOE
264: hgsbede, DOE 270: PengYanTe, DOE 277: WXLWZYWL, DOE 278: Yardsong, DOE 279: Youyou,
DOE 280: YUHGODO


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   (Matthew Bender 3d ed. 2013). See also, Zurich Am. Ins. Co. v. Gutowski, 644 F. Supp. 3d 123,

   132 (E.D. Pa. 2022), citing, Hritz v. Woma Corp., 732 F.2d 1178, 1181 (3d Cir. 1984) (“[D]efault

   judgments are generally disfavored over a resolution of a case on the merits.”); Anderson v.

   Stanco Sports Library, Inc., 52 F.R.D. 108, 109 (D. S.C. 1971) (“[T]o enter default would deprive

   defendant of its day in court and preclude just determination of the question of liability.”).

   Moreover, the interests of judicial efficiency may not only be considered good cause under Rule

   6, but also forgive a defendant’s excusable neglect. See, White v. Marshall, 2009 WL 230096, at

   *3 (E.D. Wis. Jan. 30, 2009); See also, Kane v. Fin. of Am. Reverse, LLC, 2018 WL 2001810, at

   *2 (S.D. Ind. Apr. 30, 2018) (granting extension to file document sixteen days late where delay

   was minimal, not impactful to the case moving forward, and not prejudicial to the opposing

   party).

4. Defendants respectfully request this Court extend the date on which Defendants are to have

   filed response(s) to Plaintiff’s Complaint, if ultimately necessary, to June 23, 2025.

5. This motion has been filed in good faith and is not interposed for purposes of delay.

6. This is the first motion for an extension of time filed by Defendants in this case.

7. Plaintiff has expressed that it does not oppose Defendants’ requested extension.

WHEREFORE, for the foregoing reasons, Defendants respectfully request that this Honorable

Court enter an Order.

A. Allowing Defendant until June 23, 2025 to respond to Plaintiff’s motion to enforce settlement

   agreement.

Dated this May 27, 2025
                                                                Respectfully Submitted,

                                                                /s/Adam E. Urbanczyk
                                                                Adam E. Urbanczyk
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                                                                444 W. Lake St. 17th Floor
                                                                Chicago, IL 60606


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                                         Certificate of Service

I certify that on May 27, 2025, I electronically submitted the foregoing CM/ECF, which will send

notification of such filing to all counsel of record.

Dated:          May 27, 2025

                                                                  /s/Adam E. Urbanczyk
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